Case 3:18-cv-01023-MPS Document 352-27 Filed 09/30/21 Page 1 of 3




                     EXHIBIT 38
To:           Casey Swercheck[Casey©capitalagroup.com]
From:
                         Case 3:18-cv-01023-MPS Document
              Joe Alala IlI[JAIaIa©capitalagroup.com]
                                                                               352-27 Filed 09/30/21 Page 2 of 3
Sent:         Wed 9/26/2016 12:05:51 PM (UTC-04:00)
Subject:      RE: Monday at 4:30


 We had pitched this group at Sandier offices and they said that they preferred aprivate fund vs. Public
 Fund. We need to get them to Sandier. We can chat live

 Joseph B. Alala Ill IChairman           CEO
 p704 376 5502 ext. 24         ICapitalaGroup.com
 Captala         JE

 From: Casey Swercheck
 Sent: Wednesday, September 28, 2016 12:05 PM
 To: Joe Alala III
 Subject: Fwd: Monday at 4:30


 I'm sure that's agroup on Nova's list. Either way I'm still nervous about this whole thing w Sandier as Idon't think we are being
 transparent w Nova


 Casey Swercheck IVice President
 Capitala Group
 500 FBroward Blvd           ISte   1710 IFort Lauderdale, FL 33301
 p954 848 2860         Im 215 796 8410



 Begin forwarded message:


           From: Tom Sullivan cTSullivan@sandleroneill.com>
           Date: September 28, 2016 at 8:53:43 AM PDT
           To: Joe Alala Ill ciAlala©capitaiagroup.com>, Steve Arnall <sarnall @cap italagroup.com>
           Cc: Scoff Clark <SCiark@sandleroneill.com>, Casey Swercheck <Casecapitalagroup.com>
           Subject: RE: Monday at 4:30


        The one that was blatantly missing was                              . Which was somebody we introduced you to during the
           NDR. That was what stuck out to me..


           I'm sure we will figure it out..


           Thomas J Sullivan
           Sandier O'Neill + Partners, L.P.
           1251 Avenue of the Americas    160   Floor INew York, NY 10020
           Direct: 212.466-7740
           Cell: 917-838-2131
           tsuilivan@sandleroneili.com



           From: Joe Alala III [mailto:iAlala©capitalaciroup.com]
           Sent: Wednesday, September 28, 2016 11:47 AM
           To: Steve Arnall; Tom Sullivan
           Cc: Scott Clark; Casey Swercheck
           Subject: RE: Monday at 4:30


           [External Email]




                                                                                                                       Exhibit
                                                                                                                          140
           YES


   CONFIDENTIAL                                                                                                            CAP_0040660
   Also what isCase
                that 3:18-cv-01023-MPS
                     group you want to add?  We did352-27
                                         Document    not remove
                                                            Filed it09/30/21
                                                                     but we must
                                                                             Pagehave
                                                                                  3 of lost
                                                                                       3 it in the
   exchange of exhibits. Let's add that one and any others you think are high targets.

   You the best
   Joe

   Joseph B. Alala Ill IChairman        CEO
   p704 376 5502 ext. 24 ICapitalaGroup.com




   From: Steve Arnall
   Sent: Wednesday, September 28, 2016 11:38 AM
   To: Tom Sullivan
   Cc: Joe Alala III; Scott Clark
   Subject: Re: Monday at 4:30

   Good by me


   Sent from my iPhone
   On Sep 28, 2016, at 11:31 AM, Tom Sullivan <TSullivan@sandleroneill.com> wrote:


          Joseph and Steven.. Scoff Clark is going to be in CLT this Monday. He was wondering if you guys could
          meet around 4:30 at your office?


          Thomas JSullivan
          Sandier O'
                   Neill + Partners, L.P.
          1251 Avenue of the Americas    I
                                         6'   Floor   I
                                                      New York,   NY 10020
          Direct: 212466-7740
          Cell: 917-838-2131
          tsullivan@sandleroneill.com




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